  Case 16-18387         Doc 27     Filed 05/03/17 Entered 05/03/17 11:03:00              Desc Main
                                      Document Page 1 of 3


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 16-18387
         LINDA ANN KIMBROUGH SNEED

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 06/02/2016.

         2) The plan was confirmed on 08/02/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 02/28/2017.

         6) Number of months from filing to last payment: 9.

         7) Number of months case was pending: 11.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
 Case 16-18387        Doc 27        Filed 05/03/17 Entered 05/03/17 11:03:00                     Desc Main
                                       Document Page 2 of 3



Receipts:

       Total paid by or on behalf of the debtor                 $1,750.00
       Less amount refunded to debtor                              $87.50

NET RECEIPTS:                                                                                      $1,662.50


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $1,556.17
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                           $69.33
    Other                                                                     $37.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $1,662.50

Attorney fees paid and disclosed by debtor:                      $0.00


Scheduled Creditors:
Creditor                                        Claim         Claim            Claim       Principal      Int.
Name                                 Class    Scheduled      Asserted         Allowed        Paid         Paid
CAINE & WEINER                    Unsecured         369.00           NA              NA            0.00       0.00
CAVALRY SPV I LLC                 Unsecured         471.00        470.80          470.80           0.00       0.00
CITY OF CHICAGO DEPT OF FINANCE   Unsecured         921.00           NA              NA            0.00       0.00
COMMONWEALTH EDISON               Unsecured      1,245.05         760.30          760.30           0.00       0.00
DR LEONARDS                       Unsecured         173.00           NA              NA            0.00       0.00
DR LEONARDS                       Unsecured          38.00           NA              NA            0.00       0.00
IC SYSTEMS                        Unsecured         310.00           NA              NA            0.00       0.00
MASSEYS                           Unsecured            NA         320.84          320.84           0.00       0.00
MBB                               Unsecured         137.00           NA              NA            0.00       0.00
MERCHANTS CREDIT GUIDE CO         Unsecured         112.00           NA              NA            0.00       0.00
MIDNIGHT VELVET                   Unsecured          30.00           NA              NA            0.00       0.00
MONROE & MAIN                     Unsecured         754.00        754.71          754.71           0.00       0.00
MONTGOMERY WARD                   Unsecured         316.00        316.44          316.44           0.00       0.00
MONTGOMERY WARD                   Unsecured         858.00        858.46          858.46           0.00       0.00
PEOPLES GAS LIGHT & COKE CO       Unsecured      3,432.00       3,432.00        3,432.00           0.00       0.00
PRESTIGE FINANCIAL SVC            Unsecured     17,335.00     17,512.09        17,512.09           0.00       0.00
QUANTUM3 GROUP LLC                Unsecured         297.00        297.50          297.50           0.00       0.00
WEBBANK/FINGERHUT                 Unsecured         272.00           NA              NA            0.00       0.00




UST Form 101-13-FR-S (09/01/2009)
  Case 16-18387         Doc 27      Filed 05/03/17 Entered 05/03/17 11:03:00                Desc Main
                                       Document Page 3 of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00               $0.00            $0.00
       Mortgage Arrearage                                      $0.00               $0.00            $0.00
       Debt Secured by Vehicle                                 $0.00               $0.00            $0.00
       All Other Secured                                       $0.00               $0.00            $0.00
 TOTAL SECURED:                                                $0.00               $0.00            $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $24,723.14                $0.00            $0.00


Disbursements:

         Expenses of Administration                             $1,662.50
         Disbursements to Creditors                                 $0.00

TOTAL DISBURSEMENTS :                                                                        $1,662.50


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 05/03/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
